     Case 1:14-cr-00101-DAD-BAM Document 427 Filed 02/14/18 Page 1 of 3


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 7

 8                                       UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 1:14-CR-00101-DAD-BAM

12                          Plaintiff,
                                                        SECOND AMENDED PRELIMINARY
13             v.                                       ORDER OF FORFEITURE

14    TIMOTHY ORTIZ,

15                          Defendant.

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18             Based upon the application of the United States to amend the second amended preliminary

19    order of forfeiture, and the plea agreement entered into between United States of America and

20    defendant TIMOTHY ORTIZ, it is hereby

21             ORDERED, ADJUDGED AND DECREED as follows:

22             1.      Pursuant to 18 U.S.C. §§ 982(a)(1), 981(a)(1)(C), 21 U.S.C. § 334, 28 U.S.C. §

23    2461(c), and Fed. R. Crim. P. 32.2(b) defendant TIMOTHY ORTIZ’s interest in the following

24    property shall be condemned and forfeited to the United States of America, to be disposed of

25    according to law:

26                     a. All right, title, and interest in any article of drug that is misbranded when
                          introduced into or while in interstate commerce or while held for sale (whether
27                        or not the first sale) after shipment in interstate commerce, or which may not
                          be introduced into interstate commerce, and
28
     SECOND AMENDED PRELIMINARY ORDER OF FORFEITURE     1
     Case 1:14-cr-00101-DAD-BAM Document 427 Filed 02/14/18 Page 2 of 3


 1                     b. A personal forfeiture money judgment against defendant TIMOTHY ORTIZ in
                          the amount of $109,590.89.
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               2.      Asset (a) constitutes property involved in or is property that facilitated a violation
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      of 21 U.S.C. §§ 331(a) and 333(a)(2), and 18 U.S.C. § 1957, or is traceable to such violations.
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      Asset (b) constitutes the amount derived from proceeds traceable to a violation of 18 U.S.C. §
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      371.
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               3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be
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      authorized to seize the above-listed property. The aforementioned property shall be seized and
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      held by the U.S. Marshals Service, Drug Enforcement Administration, Internal Revenue Service
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      – Criminal Investigations, or Homeland Security Investigations of Immigration and Customs
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      Enforcement in its secure custody and control.
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               4.      a. Pursuant to 18 U.S.C. § 982(b), and 28 U.S.C. § 2461(c), incorporating 21
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      U.S.C. § 853(n), and Local Rule 171, the United States shall publish notice of the order of
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      forfeiture. Notice of this Order and notice of the Attorney General’s (or a designee’s) intent to
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      dispose of the property in such manner as the Attorney General may direct shall be posted for at
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      least 30 consecutive days on the official internet government forfeiture site www.forfeiture.gov.
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      The United States may also, to the extent practicable, provide direct written notice to any person
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      known to have alleged an interest in the property that is the subject of the order of forfeiture as a
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      substitute for published notice as to those persons so notified.
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                       b. This notice shall state that any person, other than the defendant, asserting a
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      legal interest in the above-listed property, must file a petition with the Court within sixty (60)
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      days from the first day of publication of the Notice of Forfeiture posted on the official
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      government forfeiture site, or within thirty (30) days from receipt of direct written notice,
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      whichever is earlier.
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               5.       If a petition is timely filed, upon adjudication of all third-party interests, if any,
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      this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. §§ 982(a)(1),
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      981(a)(1)(C), 21 U.S.C. § 334, 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b), in which all
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      interests will be addressed.
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     SECOND AMENDED PRELIMINARY ORDER OF FORFEITURE        2
     Case 1:14-cr-00101-DAD-BAM Document 427 Filed 02/14/18 Page 3 of 3


 1             6.      The government, in its discretion, shall conduct discovery, including written

 2    discovery, the taking of depositions, and the issuance of subpoenas, in order to identify, locate

 3    or dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal

 4    Rules of Criminal Procedure.

 5    IT IS SO ORDERED.
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          Dated:      February 14, 2018
 7                                                          UNITED STATES DISTRICT JUDGE

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     SECOND AMENDED PRELIMINARY ORDER OF FORFEITURE     3
